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STIPULATION AND ORDER CONCERNING
EXPERT'S REVIEW UNDER SETTLEMENT AGREEMENT

ITIS HEREBY STIPULATED AND AGREED, by and between the undersigned counsel
for all of the parties, as follows:

WHEREAS, all of the parties to thig action — Stanacard, LLC (“Stanacard”}, Rubard, LLC
(“Rubard”), Artur Zaytsev, Alexander Dzerneyko and Aleksandr Palatkevich ~ entered into a
Settlement Agreement, dated as of February 28, 2017 (the “Settlement Agreement”),

WHEREAS, on June 12, 2017, the Court appointed Dr. Benjamin Goldberg (the “Expert")
(Docket No, 344) to determine whether Rubard's New Source Code (as defined in the Settlement
Agreement) infringes on Stanacard’s copyright rights In Stanacard’s Source Code (as defined in
the Settlement Agreement), pursuant to Schedule B of the Settlement Agreement;

WHEREAS, the Expert has completed a portion of his work, and has preliminarily
determined that Rubard’s New Source Code does not infringe on Stanadard's copyright rights in
Stanacard’s Source Code; and

WHEREAS, Stanacard has determined that, based on the Expert’s preliminary

determination of no infringement, it ls not necessary for the Expert to (a) carry out any additional

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> . .
STANACARD, LLC, : Case No, fid-bvlpss FeO NICALLY FELED
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RUBARD, LLC D/B/A CENTMOBILE, _
ALEKSANDR PALATKEVICH, ARTUR
ZAYTSBV & ALEXANDER DZERNEYKO,
Defendants. :
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““steps pursuant to Schedule B of the Settlenient Agrecment to determine whether Rubard’s New

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Source Code infringes on Stanacard’s copyright rights in Stanacard’s Source Code, or (b) prepare

and submit.a report to the parties, as required by the Settlement Agreement, Schedule B | 6.

(i)

(ii)

Gi)

ACCORDINGLY, IT IS HEREBY ORDERED, on consent of all parties, as follows:

it ls not necessary For the Expert to, and the Expert shall not, (a) carry out any additional
steps pursuant to Schedule B of the Settlement Agrecment to determine whether
Rubard’s New Source Code infringes on Stanacard’s copyright rights in Stanacard's
Source Code, or (b) prepare and submit a report to the parties, as required by the
Settlement Agreement, Schedule B 1 6;

The Expert’s preliminary determination that Rubard’s New Source Code does not
inftinge on Stmacard's copyright rights in Stanacard’s Source Code shall {a) be .
deemed to be a final determination, in the Expert’s opinion, that Rubard's New Source
Code has passed the test and does not infringe on Stanacard’s copyright rights {n
Stanacard’s Source Code, purstant to Schedule B 46 of the Seitlement Agrocment;

(b) have the same force and effect as if the Expert had coridusted the full review

provided in Schedule B and made a final determination that Rubard’s New Source Code

has passed the test and does not infringe on Stanacard’s copyright rights in Stanacard’s
Source Code; and (c) be binding on all parties, may not be challenged and ig not
appealable, ,

Stanacard hereby irrevocably waives its rights under the Sottlement Agreement to (a)

have the Expert prepare a report, as provided in Schedule B of the Settlement

Agreement, and (b) have the Expert complete the full roview of Rubard’s New Souroe

 

 
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Code and compare if to Stanacard’s Source Code, as provided in Schedule B of the

Settlement Agreement,

(iv) The Expert has concluded that Rubard properly deleted its Old Source Code (as defined

in the Settlement Agreement) pursuant to the terms of the Settlement Agreement. This

shall be deemed a final determination,

(¥} = - To the extent that there are any discrepancies between this Stipulation and Order and

fhe Settlement Agreement, the terms of this Stipulation and Order shall govern,

Dated: New York, New York
July f, 2017
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ITS SO ORDERED,

a 2017

 
 
    

B LLP -

 
 
   

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Honorable Colleen McMahon
United States District Judge

 
